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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
M.G.S., an adjudicated adult Ward under )
Court appointed guardianship, by )
NeXt-Friends, )
)
Plaintiff, ) Case No. ll-cv-7934
)
v. ) Honorable Judge Guzman
) Magistrate Judge Gilbert p)/
CAROLYN TOERPE, Court-Appointed )
Guardian, et al ) F l L E D
)
Defendants. ) DEC - 8 ZUii
GUARDIANS AD LITEM (GAL)’S MICHAEL W_ DQBB|NS

 

DEFENDANTS’ MOTION TO DISMISS CLERK, U_S_ D|STR\CT COURT
Defendants, ADAM M. STERN and CYNTHIA FARENGA (collectively “GAL
Defendants”) hereby move to dismiss PlaintifF s Amended Compliant pursuant to Rule
lZ(b)(l) and 12(b)(6) of the Federal Rules of Civil Procedure, for the reasons set forth in
the memorandum of support of this motion; that memorandum is incorporated herein by
reference

Respectfully Submitted,

we ` ii tow

 

 

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